             Case 23-12373-JDW                        Doc 2   Filed 08/07/23 Entered 08/07/23 12:53:30                           Desc Main
                                                              Document     Page 1 of 5
Fill in this information to identify your case:
Debtor 1               Charles Edward Williams
                          Full Name (First, Middle, Last)
Debtor 2
(Spouse, if filing)       Full Name (First, Middle, Last)
                                                              NORTHERN DISTRICT OF
United States Bankruptcy Court for the                            MISSISSIPPI                                      Check if this is an amended plan, and
                                                                                                                   list below the sections of the plan that
Case number:                                                                                                       have been changed.
(If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                     12/17


Part 1:       Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                        debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                        to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                        (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                        is filed. See Bankruptcy Rule 3015.

                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                        provision will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                 Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                 Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                 Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2          Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $701.50 ( monthly, semi-monthly, weekly, or                   bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                      Direct Pay




APPENDIX D                                                                Chapter 13 Plan                                                 Page 1
               Case 23-12373-JDW                 Doc 2       Filed 08/07/23 Entered 08/07/23 12:53:30                              Desc Main
                                                             Document     Page 2 of 5
Debtor               Charles Edward Williams                                                   Case number

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                        return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                        Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3:        Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      3.1(a)
         Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
         1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
         claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
1     Mtg pmts to Fay Servicing, LLC
Beginning November 2023              @              $593.00          Plan         Direct.     Includes escrow   Yes     No

1         Mtg arrears to       Fay Servicing, LLC                           Through        October 2023                                         $3,558.00

3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
             U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
             the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
             herein.
Property -NONE-
          address:
Mtg pmts to
Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

Property -NONE- Mtg arrears to                                            Through

3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                    consistent with the proof of claim filed by the mortgage creditor.

Creditor:         -NONE-                        Approx. amt. due:                               Int.
                                                                                                Rate*:
Property Address:
Principal Balance to be paid with interest at the rate above:
(as stated in Part 2 of the Mortgage Proof of Claim Attachment)
Portion of claim to be paid without interest: $
(Equal to Total Debt less Principal Balance)

Special claim for taxes/insurance: $                        -NONE- /month, beginning                month .
(as stated in Part 4 of the Mortgage Proof of Claim Attachment)

                                                                           Mississippi Chapter 13 Plan                                     Page 2
             Case 23-12373-JDW                    Doc 2       Filed 08/07/23 Entered 08/07/23 12:53:30                             Desc Main
                                                              Document     Page 3 of 5
   Debtor           Charles Edward Williams                                                      Case number


* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District
  Insert additional claims as needed.

  3.2        Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                       None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

  3.3        Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  3.4        Motion to avoid lien pursuant to 11 U.S.C. § 522.

  Check one.
                       None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

  3.5        Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


   Part 4:    Treatment of Fees and Priority Claims

  4.1        General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

  4.2        Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

  4.3        Attorney's fees.

                No look fee:     4,000.00

                  Total attorney fee charged:            $4,000.00

                  Attorney fee previously paid:          $387.00

                  Attorney fee to be paid in plan per
                  confirmation order:                    $3,613.00

                Hourly fee: $       . (Subject to approval of Fee Application.)

  4.4        Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

  4.5        Domestic support obligations.

                       None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



   Part 5:   Treatment of Nonpriority Unsecured Claims
  5.1        Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $ 0.00

                                                                             Mississippi Chapter 13 Plan                                    Page 3
          Case 23-12373-JDW                 Doc 2       Filed 08/07/23 Entered 08/07/23 12:53:30                             Desc Main
                                                        Document     Page 4 of 5
Debtor           Charles Edward Williams                                                  Case number

                 % of the total amount of these claims, an estimated payment of $
            The funds remaining after disbursements have been made to all other creditors provided for in this plan.



            If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00
            Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2       Other separately classified nonpriority unsecured claims (special claimants). Check one.

                   None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:   Executory Contracts and Unexpired Leases

6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
          contracts and unexpired leases are rejected. Check one.

                   None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:   Vesting of Property of the Estate

 7.1      Property of the estate will vest in the debtor(s) upon entry of discharge.

Part 8:   Nonstandard Plan Provisions

8.1       Check "None" or List Nonstandard Plan Provisions
                 None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

          X        Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
                   provision is a provision not otherwise included in the Official Form or deviating from it.
                   Nonstandard provisions set out elsewhere in this plan are ineffective.

                   The following plan provisions will be effective only if there is a check in the box “Included”
                   in § 1.3

                   1. Absent an objection, andy Proof of Claim filed by the Internal Revenue Service and/or
                      MDOR (priority/secured) shall be paid in full at any applicable statutory rate of interest.
                   2. Upon the filing of a Notice of Postpetition Mortgage Fees, Expenses, and Charges, and
                      absent any objection being filed within 30 days after the filing of said Notice, the Trustee is
                      authorized to pay the amount contained in the Notice as a special claim over the remaining
                      plan term and adjust the plan payment accordingly.
                   3. If applicable, all ad valorem taxes, past/present/future, if not paid by the mortgage company,
                      shall be paid direct to the taxing authority by the Debtor and not paid through the chapter 13
                      plan

Part 9:   Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Charles Edward Williams                                           X
     Charles Edward Williams                                                   Signature of Debtor 2
     Signature of Debtor 1


                                                                      Mississippi Chapter 13 Plan                                     Page 4
         Case 23-12373-JDW                Doc 2   Filed 08/07/23 Entered 08/07/23 12:53:30    Desc Main
                                                  Document     Page 5 of 5
Debtor         Charles Edward Williams                                          Case number

    Executed on    August 1, 2023                                 Executed on

    1312 Country Church Rd
    Address                                                Address
    Lamar MS 38642-0000
    City, State, and Zip Code                              City, State, and Zip Code

    Telephone Number                                       Telephone Number


X   /s/ Robert H. Lomenick                                 Date     August 1, 2023
    Robert H. Lomenick 104186
    Signature of Attorney for Debtor(s)
    126 North Spring Street
    Post Office Box 417
    Holly Springs, MS 38635
    Address, City, State, and Zip Code
    662-252-3224                                           104186 MS
    Telephone Number                                       MS Bar Number
    rlomenick@gmail.com
    Email Address




                                                          Mississippi Chapter 13 Plan             Page 5
